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 1                                                                             Hon. Richard A. Jones
                                                                              Hon. J. Richard Creatura
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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     EL PAPEL LLC, et al.,                              )     No. 2:20-cv-01323-RAJ-JRC
 9                                                      )
                                          Plaintiffs,   )     DEFENDANT CITY OF SEATTLE’S
10                                                      )     SUPPLEMENTAL CROSS-MOTION
                    vs.                                 )     FOR SUMMARY JUDGMENT RE
11                                                      )     MOOTNESS AND MOTION TO
     BRUCE HARRELL, et al.,                             )     MODIFY REPORT AND
12                                                      )     RECOMMENDATION (DKT. # 141)
                                        Defendants.
                                                        )
13                                                      )     NOTE ON MOTION CALENDAR:
                                                        )     APRIL 1, 2022
14

15                        I.     INTRODUCTION AND RELIEF REQUESTED

16          On September 15, 2021, the Magistrate Judge recommended that the Court grant the City’s

17   motion for summary judgment and dismiss on the merits Plaintiffs’ challenges to three City

18   measures adopted in response to the COVID-19 pandemic. Since then, circumstances have changed:

19   one of the three challenged measures, the City’s eviction moratorium, terminated on February 28,

20   2022. Because this termination renders moot Plaintiffs’ requests for injunctive and declaratory relief

21   as to the moratorium, the City respectfully asks the Court to modify the Magistrate Judge’s Report

22   and Recommendation (Dkt. # 141) and dismiss those requests as moot. The City offers this motion

23   to supplement its cross-motion for summary judgment (Dkt. # 103) and continues to ask the Court



      DEFENDANT CITY OF SEATTLE’S SUPPLEMENTAL CROSS-MOTION FOR                           Ann Davison
      SUMMARY JUDGMENT RE MOOTNESS AND MOTION TO MODIFY REPORT                            Seattle City Attorney
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      AND RECOMMENDATION - 1                                                              Seattle, WA 98104-7095
      El Papel LLC v. Harrell, No. 2:20-cv-01323-RAJ-JRC                                  (206) 684-8200
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 1   to adopt the Magistrate Judge’s recommendation and dismiss on the merits the balance of Plaintiffs’

 2   case against the City.

 3                                   II.     STATEMENT OF FACTS

 4           The City’s cross-motion for summary judgment provides a fuller factual context for the

 5   challenged City enactments. See City’s Opening/Response Brief on Cross-Motions for Summary

 6   Judgment, Dkt. # 103, pp. 4–10. In response to the COVID-19 pandemic, the City enacted a

 7   moratorium on residential evictions. Id., p. 7. The City also created a defense to evictions within six

 8   months after the termination of the eviction moratorium, where the eviction is based on nonpayment

 9   of rent and the tenant declares they suffered a financial hardship and cannot pay rent (the “six-

10   month defense”). Id., p. 8. Finally, the City adopted a repayment plan requirement allowing a tenant

11   who fails to pay rent when due during or within six months after the civil emergency to pay overdue

12   rent in installments. Id.

13           Plaintiffs challenged these enactments, raising Contract Clause and takings claims and

14   seeking an injunction, declaratory relief, and nominal damages. See Complaint for Declaratory and

15   Injunction Relief, Dkt. # 1. The City extended the eviction moratorium several times during the

16   pendency of this action. See, e.g., Dkt. #s 72-1, 100-8, 124, 142, and 156.

17           On September 15, 2021, the Magistrate Judge recommended that the Court grant the City’s

18   motion for summary judgment and dismiss Plaintiffs’ challenges to the City’s enactments on the

19   merits. See Report and Recommendation (“R&R”), Dkt. # 141, p. 30. At that time, the City’s

20   eviction moratorium was set to expire on September 30, 2021. Id., p. 24. The City subsequently

21   extended the moratorium through February 28, 2022, at which point the moratorium terminated. See

22   City of Seattle’s Notice of Supplemental Authority Re Termination of City Moratorium, March 1,

23   2022, Dkt. # 161.



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 1                                           III.    AUTHORITY

 2           The Magistrate Judge recommended that all of Plaintiffs’ claims against the City be

 3   dismissed on the merits in response to the City’s motion for summary judgment. R&R, Dkt. # 141,

 4   p. 30. The City agrees with the Magistrate Judge’s recommended resolution of the merits and

 5   continues to agree with the Magistrate Judge’s recommendation with respect to Plaintiffs’

 6   challenges to the City’s six-month defense and repayment plan requirement.

 7           But with respect to Plaintiffs’ challenge to the City’s eviction moratorium, only Plaintiffs’

 8   request for nominal damages properly remains before the Court (and should be dismissed on the

 9   merits consistent with the Magistrate Judge’s recommendation). Because the City’s eviction

10   moratorium terminated on February 28, 2022, Plaintiffs’ requests for injunctive and declaratory

11   relief as to the moratorium are moot and must be dismissed on that basis. If the Court disagrees that

12   Plaintiffs’ requests for injunctive and declaratory relief as to the moratorium are moot, the Court

13   should nonetheless follow the Magistrate Judge’s recommendation and dismiss those requests on

14   the merits.

15           A.      The expiration of the moratorium renders moot Plaintiffs’ requests for
                     prospective relief, unless Plaintiffs can show a reasonable expectation that the
16                   City will reenact the moratorium.

17           A case becomes moot when the issues presented are no longer “live” or the parties lack a

18   legally cognizable interest in the outcome. Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013). A

19   case that becomes moot at any point during the proceedings is no longer a “case” or “controversy”

20   for purposes of Article III and is outside the jurisdiction of the federal courts. U.S. v. Sanchez-

21   Gomez, 138 S. Ct. 1532, 1537 (2018).

22           In determining whether a case is moot, courts treat the voluntary cessation of challenged

23   conduct by the government with more solicitude than similar actions by private parties. Board of



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 1   Trustees of Glazing Health and Welfare Trust v. Chambers, 941 F.3d 1195, 1198 (9th Cir. 2019). A

 2   court presumes that the repeal, amendment, or expiration of legislation will render a challenge moot,

 3   unless there is a reasonable expectation that the body will reenact the challenged provision or one

 4   similar to it. Id., 941 F.3d at 1199. Such an expectation must be founded in the record, rather than

 5   on speculation alone. Id.

 6          The principle that expiration of an enactment generally renders a challenge moot also

 7   applies in the context of executive orders. Trump v. Hawaii, 138 S. Ct. 377 (2017). See, e.g.,

 8   Cummings v. DeSantis, ___ F. Supp. 3d ___, 2020 WL 4815816 at *2–3 (M.D. Fla. Aug. 19, 2020)

 9   (termination of COVID-related business closure orders rendered a request for declaratory judgment

10   as to those orders moot where the plaintiff failed to show a reasonable expectation that the

11   restrictions would recur).

12          B.       Plaintiffs can demonstrate no reasonable expectation that the City will reenact
                     the eviction moratorium.
13

14          Plaintiffs cannot meet their burden of demonstrating a reasonable expectation that the City

15   will reenact the eviction moratorium. In King County, 87.8% of residents ages 12 and older (and

16   84.6% of residents ages 5 and older) have now completed their COVID-19 vaccine series. See

17   Public Heath – Seattle and King County, Summary of COVID-19 vaccination among King County

18   residents (available at https://kingcounty.gov/depts/health/covid-19/data/vaccination.aspx, last

19   visited March 8, 2022). Public health conditions have improved dramatically since the Omicron-

20   driven peak of COVID-19 cases in early 2022. New COVID-19 cases and hospitalizations in King

21   County have decreased precipitously since then. See Public Health – Seattle and King County,

22   COVID-19 summary dashboard (available at https://kingcounty.gov/depts/health/covid-

23   19/data/summary-dashboard.aspx, last visited March 8, 2022).



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 1          The widespread relaxation of COVID-related restrictions by many levels of government

 2   confirms that the public health necessity for the moratorium has passed. Effective March 1, 2022,

 3   King County ended its order requiring proof of COVID-19 vaccination or a negative test for entry

 4   into restaurants and bars, indoor recreational events and establishments, or outdoor events. See

 5   Public Health – Seattle and King County, Public Health Insider (available at https://

 6   publichealthinsider.com/2022/02/16/vaccination-verification-policy-to-end-as-of-march-1/, last

 7   visited March 8, 2022). Both the State of Washington and King County are ending their indoor

 8   mask mandates on March 11, 2022. See Public Health – Seattle and King County, Public Health

 9   Insider (available at https://publichealthinsider.com/2022/02/28/king-countys-local-indoor-mask-

10   mandate-to-end-after-march-11/, last visited March 8, 2022).

11          Given these trends, COVID-19 conditions are fundamentally different than when the City

12   instituted the eviction moratorium (when no vaccine was available) or cases peaked in early

13   2022. See, e.g., Dixon Ventures, Inc. v. Dept. of Health and Human Services, ___ F. Supp. 3d

14   ___, 2022 WL 179012 at *2 (E.D. Ark. January 19, 2022) (dismissing a challenge to a vacated

15   CDC moratorium as moot where current COVID-19 conditions—particularly the availability of

16   vaccines and testing—negated a reasonable expectation that a new moratorium would be

17   enacted). Although the ultimate course of the pandemic cannot be known and government

18   officials must remain attentive to new public health threats, an expectation at this point in time

19   that the City would reinstate the moratorium would rest solely on speculation.

20          Besides, the City’s eviction moratorium is not the City’s only tool for addressing the

21   impacts of the pandemic. The six-month defense, which commenced upon termination of the

22   moratorium, and the repayment plan requirement mitigate the pandemic’s longer-lasting housing

23   and economic impacts. The City’s multi-tiered approach reflects a deliberate choice to transition



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 1   from the moratorium to less expansive measures. Because there is no longer a moratorium for the

 2   Court to issue a declaratory judgment against or enjoin, and Plaintiffs can demonstrate no

 3   reasonable expectation that the City will reenact the moratorium, Plaintiffs’ requests for prospective

 4   relief against the City’s moratorium are moot.

 5                                         IV.     CONCLUSION

 6          The City respectfully requests that the Court modify the Magistrate Judge’s Report and

 7   Recommendation and dismiss as moot Plaintiffs’ requests for injunctive and declaratory relief

 8   against the City’s eviction moratorium, while otherwise adopting the Magistrate Judge’s

 9   recommendation and dismissing on the merits the balance of Plaintiffs’ case against the City.

10          Respectfully submitted March 9, 2022.

11                                                    ANN DAVISON
                                                      Seattle City Attorney
12
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18                                                    Seattle and Bruce Harrell, in his official capacity as
                                                      the Mayor of the City of Seattle
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